                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

SHANNON KASBY,

                     Plaintiff,

v.                                                         Case No: 6:11-cv-152-Orl-36GJK

UPPER DECK BAR AND GRILL, LLC,
NSB FISH HOUSE, LLC and DANNY
HUNT,

                     Defendants.


                                           ORDER

       This cause comes before the Court on the Report and Recommendation of Magistrate

Judge Gregory J. Kelly, filed on October 22, 2013 (Doc. 73).              In the Report and

Recommendation, Magistrate Judge Kelly recommends that Plaintiff Shannon Kasby’s

(“Kasby”) Renewed Motion for Entry of Final Default Judgment (“Motion for Default

Judgment”) (Doc. 65) be granted in part and denied in part. See Doc. 73. No party has objected

to the Report and Recommendation and the time to do so has expired.

       Pursuant to Federal Rule of Civil Procedure 55(a), default was entered against

Defendants Upper Deck Bar and Grill, LLC and NSB Fish House, LLC on November 27, 2012,

and against Defendant Danny Hunt on April 29, 2013. Docs. 53, 57. On July 24, 2013, Kasby

filed his Motion for Default Judgment pursuant to Federal Rule of Civil Procedure 55(b)(2).

Doc. 65. Defendants did not respond to Kasby’s Motion for Default Judgment. Upon review,

the Court is in agreement with the Magistrate Judge that Kasby and opt-in plaintiff Andre Evans

(“Evans”) have adequately established that Defendants violated the Fair Labor Standards Act’s

overtime provisions, and that Defendants are jointly and severally liable for any damages
resulting therefrom. See Doc. 73, pp. 5–11. The Court is also in agreement with the Magistrate

Judge’s determinations as to Kasby and Evans’ entitlement to damages (including liquidated

damages), attorney’s fees, and costs, and as to the corresponding amounts thereof. See id. at 11–

16. Therefore, after careful consideration of the Report and Recommendation of the Magistrate

Judge, in conjunction with an independent examination of the court file, the Court is of the

opinion that the Magistrate Judge’s Report and Recommendation should be adopted, confirmed,

and approved in all respects.

       Accordingly, it is hereby ORDERED and ADJUDGED:

       1.      The Report and Recommendation of the Magistrate Judge (Doc. 73) is adopted,

               confirmed, and approved in all respects and is made a part of this Order for all

               purposes, including appellate review.

       2.      Plaintiff Shannon Kasby’s Renewed Motion for Entry of Final Default Judgment

               (Doc. 65) is GRANTED in part and DENIED in part as follows:

               a.     Shannon Kasby is awarded damages against Defendants, jointly and

                      severally, in the total amount of $72,960.00, which represents $36,480.00

                      in unpaid overtime wages and $36,480.00 in liquidated damages, together

                      with post-judgment interest at the legal rate.

               b.     Andre Evans is awarded damages against Defendants, jointly and

                      severally, in the total amount of $15,394.32, which represents $7,697.16 in

                      unpaid overtime wages and $7,697.16 in liquidated damages, together

                      with post-judgment interest at the legal rate.

               c.     Kasby and Evans are awarded damages against Defendants, jointly and

                      severally, in the total amount of $20,526.25, which represents $19,222.50




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                       in attorney’s fees and $1,303.75 in costs, together with post-judgment

                       interest at the legal rate.

       3.     The Clerk is directed to enter judgment accordingly and close this case.

       DONE and ORDERED in Orlando, Florida on November 15, 2013.




Copies furnished to:

Counsel of Record
Unrepresented Parties
United States Magistrate Judge Gregory J. Kelly




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